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                                                                                                      E-FILED
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                                                                                 Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

 NATURAL RESOURCES DEFENSE
 COUNCIL, INC.; RESPIRATORY HEALTH
 ASSOCIATION; and SIERRA CLUB, INC.,

 Plaintiffs,                                         Case No. 13-cv-01181
                                                     United States District Judge
                               v.                    Joe Billy McDade

 ILLINOIS POWER RESOURCES                            Magistrate Judge
 GENERATING, LLC,                                    Thomas P. Schanzle-Haskins III

 Defendant.


               PLAINTIFFS’ RESPONSE TO IPRG’S MOTION IN LIMINE NO. 3

        Plaintiffs do not oppose, in principle, Illinois Power Resources Generating’s (IPRG)

general request that this Court provide IPRG an opportunity to make a particularized showing

justifying closing the courtroom to withhold parts of witness testimony or trial exhibits from

public view.1 Indeed, IPRG’s request is consistent with Plaintiffs’ request in one of their motions

in limine that “[a]ny further decisions by this Court to allow documents to be filed under seal

[must] be conditioned on [a] particularized showing by the sealing proponent that documents

contain trade secrets, privileged information, or information that is required to be kept

confidential by statute.” See Pls. Mot. in Limine to Unseal, ECF No. 259, at 8.2



   1
     On June 4, 2019, Plaintiffs wrote to IPRG to explore whether it would agree with the
schedule and process for the resolution of courtroom closure claims presented here by Plaintiffs.
Ex. UA at 1. As of the time of this filing, IPRG has not responded to Plaintiffs’ schedule
proposal. Rodriguez Decl. ¶ 3.
   2
     To the extent that any documents IPRG may wish to withhold from the public during trial
have already been filed under seal, Plaintiffs’ motion to unseal explains—based on the same
precedent IPRG cites in its motion—why those documents should no longer be withheld from
the public.
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        IPRG’s desire to withdraw any element of this trial from public view must, however,

overcome the strong presumption favoring public access to judicial proceedings, see Jessup v.

Luther, 277 F.3d 926, 927-28 (7th Cir. 2002)—a presumption of “constitutional magnitude,” In

re Cont’l Ill. Sec. Litig., 732 F.2d 1302, 1308 (7th Cir. 1984). This presumption is magnified

here, as the case approaches a two-week remedy trial concerning matters of significant

community and public interest: upholding the rule of law, protecting public health, and holding

IPRG accountable for endangering public health and violating the Clean Air Act.

        Consistent with this Court’s scheduling order, see Order, ECF No. 237, at 3, any proposal

from IPRG to close the courtroom and any decision by this Court about whether to close the

courtroom should be made as soon as possible. Plaintiffs are concerned that if the issue is not

resolved well in advance of trial, the prospect of even intermittent courtroom closures will chill

public participation by making it harder for interested citizens (including but not limited to

Plaintiffs’ members and representatives of the press) to know in advance when they can show up

at the courthouse and have the assurance of being let into the courtroom. Unfortunately, IPRG’s

motion in limine does not provide the information necessary to resolve the closure issue: it does

not identify any of the documents IPRG thinks may be used at trial and withheld from the public,

let alone provide the particularized reasons to withhold each document (or parts thereof).

Plaintiffs therefore respectfully request that, in the event the Court is still inclined to entertain

any requests to close the courtroom, it provide a schedule for (1) IPRG to disclose to Plaintiffs

all parts of any witness testimony or trial exhibits it believes must be presented in a closed

courtroom and the particularized reasons why, according to IPRG, those materials can be

withheld from the public; and (2) the parties to brief any trial-access disputes in advance of the

Final Pretrial Conference.



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                                           ARGUMENT

       The Constitution protects the public’s right to access judicial proceedings. Richmond

Newspapers, Inc. v. Virginia, 448 U.S. 555, 599 (1980) (Stewart, J., concurring) (“[T]he First

and Fourteenth Amendments clearly give the press and the public a right of access to trial

themselves, civil as well as criminal.”). A party seeking to keep any part of the judicial record

out of the public’s view bears the burden of showing that the documents or testimony in question

contain “trade secrets, information covered by a recognized privilege (such as the attorney-client

privilege), [or] information required by statute to be maintained in confidence.” Baxter Int’l, Inc.

v. Abbott Labs., 297 F.3d 544, 545-46 (7th Cir 2002). In addition to infringing on constitutional

rights, courtroom closures pose an array of practical problems. These include fragmenting the

presentation of testimony and evidence, as only those specific parts of testimony or exhibits

containing trade secrets, privileged information, or information required by statute to be

maintained in confidence may be withheld from the public. Cf. Jessup, 277 F.3d at 929 (stating

that judicial records are public “except insofar as particular provisions may be concealed in order

to protect trade secrets or other compelling interests in secrecy”); Citizens First Nat’l Bank v.

Cincinnati Ins., 178 F.3d 943, 945 (7th Cir. 1999) (“[A] document that contains trade secrets

may also contain material that is not a trade secret, in which case all that would be required to

protect a party’s interest in trade secrecy would be redaction of portions of the document.”).

Closing the courtroom also imposes additional burdens on courthouse staff, and doing so could

chill public participation in the parts of the trial that remain open by making it more difficult for

people to know in advance when they can arrive at the courtroom and be sure of getting in.

       The Court previously expressed its desire to “rule on th[ese] issue[s] well in advance of

the trial,” by ordering any party “wish[ing] to limit public access to the trial in whole or in part



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. . . [to] submit a motion to that effect at the same time as all motions in limine.” Order, ECF No.

237, at 3. Despite that instruction, IPRG has yet to identify any specific part of any testimony or

document it wants to withhold from the public at trial, much less make the particularized

showing necessary to justify any such limit on public access. Nor has IPRG provided any sense

of the range of testimony or volume of evidence it seeks to withhold from the public.

        Plaintiffs nonetheless recognize—as evidenced by IPRG’s motion—that IPRG may want

to identify certain witness testimony or exhibits it wants to shield from public view at trial later

in the pretrial schedule. But IPRG has not proposed an actual process for presenting,

substantiating, and resolving its possible closure claims. Plaintiffs propose the following process

to ensure that, assuming the Court is willing to entertain any future claims by IPRG that the

courtroom should be closed, those claims are made and adjudicated in an orderly and timely

process well before trial.

I.      IPRG should provide Plaintiffs with a list of all parts of any IPRG-designated
        witness testimony or trial exhibits that IPRG claims must be presented in a closed
        courtroom, and explain the basis for any such claims, by August 23, 2019
        IPRG asserts that it will be more efficient to wait until the parties exchange witness and

trial exhibit lists before it identifies the topics and exhibits (or parts thereof) it wishes to shield

from public access at trial. See Def.’s Mot. in Limine No. 3, ECF No. 254, at 3. Once IPRG

knows whom it intends to call and what exhibits it plans to present at trial, however, its rationale

for delay no longer applies. The parties will exchange their witness and exhibit lists on August

23, 2019. Order, ECF No. 237, at 4. The Court should accordingly require IPRG to disclose to

Plaintiffs, by August 23, all parts of any IPRG-designated witness testimony or trial exhibits that

IPRG wishes to present in a closed courtroom. The disclosure should include a particularized

showing of why, according to IPRG, any such testimony or exhibits contain trade secrets,



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information covered by a recognized privilege, or information required by statute to be

maintained in confidence.

II.    IPRG should provide Plaintiffs with a list of all parts of any Plaintiff-designated
       witness testimony or trial exhibits that IPRG claims must be presented in a closed
       courtroom, and explain the basis for any such claims, by August 26, 2019

       Plaintiffs do not believe that any witness testimony or exhibits they will present at trial

will contain trade secrets, information covered by a recognized privilege, or information required

by statute to be maintained in confidence. Plaintiffs understand, however, that IPRG may dispute

Plaintiffs’ position and desire to close the courtroom to the public for some portion of the

presentation of Plaintiff-designated witnesses or exhibits. IPRG will know Plaintiffs’ witness and

exhibit designations on August 23. Order, ECF No. 237, at 4. To prevent undue delay in

resolving any additional closure claims IPRG wishes to make in response to Plaintiffs’

designations, the Court should require IPRG to disclose to Plaintiffs, by August 26, all parts of

any Plaintiff-designated witness testimony or trial exhibits that IPRG wishes to present in a

closed courtroom. As with IPRG-designated testimony and exhibits, the required disclosure

should include a particularized showing of why, according to IPRG, any such testimony or

exhibits contain trade secrets, information covered by a recognized privilege, or information

required by statute to be maintained in confidence.

III.   IPRG should file any motion seeking to close the courtroom during trial by August
       30, 2019
       IPRG’s disclosure to Plaintiffs of any witness testimony or exhibits it wants to withhold

from the public at trial does not, of course, settle the matter. Ultimately, IPRG bears the “heavy

burden,” cf. United States v. Dish Network, L.L.C., 943 F. Supp. 2d 891, 896 (C.D. Ill. 2013), of

making a particularized showing to this Court that each portion of testimony or part of an exhibit

that it believes should be presented in a closed courtroom contains trade secrets, information


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covered by a recognized privilege, or information required by statute to be maintained in

confidence, see Baxter Int’l, 297 F.3d at 545-46. The Court should require IPRG to file any

motion seeking to limit public access to any portion of the trial by August 30, 2019. This

deadline provides adequate time for the parties to seek to narrow any disputes following IPRG’s

disclosures to Plaintiffs, see supra 4-5, while also providing enough time for Plaintiffs to

respond, as appropriate, to IPRG’s motion well in advance of the Final Pretrial Conference.

IV.    Plaintiffs’ response, if any, to IPRG’s motion should be due by September 4, 2019
       The Court should order Plaintiffs to respond to any IPRG motion to limit public trial

access by September 4, 2019—the Pretrial Order deadline. Order, ECF No. 237, at 4. This will

provide the Court adequate time to consider IPRG’s motion and Plaintiffs’ objections, if any,

during the September 11, 2019, Final Pretrial Conference, as required by the Local Rules. Id.;

see CDIL-LR 16.1(E)-(F).

                                         CONCLUSION

       For the reasons above, Plaintiffs do not oppose IPRG’s motion regarding trial

confidentiality, but respectfully request the Court issue an order requiring that:

1.     IRPG provide Plaintiffs with a list of all parts of any IPRG-designated witness testimony

       or trial exhibits that IPRG claims must be presented in a closed courtroom, and explain

       the basis for any such claims, by August 23, 2019. The required disclosure should include

       a particularized showing of why, according to IPRG, any such testimony or exhibits

       contain trade secrets, information covered by a recognized privilege, or information

       required by statute to be maintained in confidence.

2.     IRPG provide Plaintiffs with a list of all parts of any Plaintiff-designated witness

       testimony or trial exhibits that IPRG claims must be presented in a closed courtroom, and

       explain the basis for any such claims, by August 26, 2019. The required disclosure should

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     include a particularized showing of why, according to IPRG, any such testimony or

     exhibits contain trade secrets, information covered by a recognized privilege, or

     information required by statute to be maintained in confidence.

3.   IPRG file any motion to limit public access to any portion of the trial by August 30,

     2019. Any such motion must make a particularized showing, for each portion of

     testimony or part of exhibit covered, that any such testimony or exhibit contains trade

     secrets, information covered by a recognized privilege, or information required by statute

     to be maintained in confidence.

4.   Plaintiffs shall respond to any motion to limit trial access by IPRG no later than

     September 4, 2019.



                                           Respectfully submitted June 7, 2019,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on June 7, 2019, I caused the following to be served on all parties’

counsel via the Court’s CM/ECF system:

          PLAINTIFFS’ RESPONSE TO IPRG’S MOTION IN LIMINE NO. 3

  DECLARATION OF GONZALO E. RODRIGUEZ IN SUPPORT OF PLAINTIFFS’
            RESPONSE TO IPRG’S MOTION IN LIMINE NO. 3


                                                    s/ Gonzalo E. Rodriguez
                                                    Gonzalo E. Rodriguez
